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Office of the General Counsel




                UNITED STATES INTERNATIONAL TRADE COMMISSION


                                       December 26, 2023

The Honorable Jarrett B. Perlow
Clerk of Court
United States Court of Appeals for the Federal Circuit
717 Madison Place, N.W.
Washington, DC 20439

Re:     Apple Inc. v. ITC, No. 24-1285

Dear Mr. Perlow:

        This letter concerns Appellant Apple Inc.’s appeal filed on December 26, 2023, from a
final determination of the International Trade Commission in Investigation No. 337-TA-1276,
and in particular, two motions filed concurrently therewith: (1) a motion to stay the
Commission’s remedial orders pending appeal (ECF 7), and (2) a motion for an interim stay of
those orders pending this Court’s ruling on the motion to stay (ECF 5). The Commission
opposes both motions. Because Ronald Traud, the primary attorney advising the Commission
during the investigation and the Commission’s principal attorney in the present appeal, is
currently on leave through January 2, 2024, the Commission respectfully requests that the Court
decline to shorten the time for the Commission’s response to Apple’s motion for an interim stay.
Consequently, the Commission’s response to the motion for an interim stay would be due on
January 5, 2024, in accordance with the regular motion practice schedule. See Fed. R. App. P.
27(a)(3)(A).

        With respect to Apple’s motion for a stay pending appeal, the Commission respectfully
requests a five-day extension from January 5, 2024, to January 10, 2024, to file its response in
order to provide the principal attorney time to review and respond to that motion. See Fed. Cir.
R. 26(b)(2). The Commission further requests that the same response schedule be provided for
the Proposed Intervenors,1 as is this Court’s customary practice. This letter has been filed at
least seven days before the due date, and this is the Commission’s first request for an extension.
See Fed. Cir. R. 26(b)(1). The Commission has met and conferred with Apple who opposes the

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  Masimo Corporation and Cercacor Laboratories, Inc. (collectively, “Proposed Intervenors”),
who were the respondents in the underlying Commission investigation, have indicated that they
intend to intervene in the present appeal and that they support the Commission’s requested relief.
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Commission’s requested relief with respect to the motion for an interim stay but does not oppose
a reasonable extension with respect to the motion for a stay pending appeal.

        Importantly, an interim stay is not warranted in this case. First, Apple’s motion for an
interim stay fails to establish a likelihood of success on the merits given that Apple raises no
genuine legal issues but essentially requests that the Court reweigh the evidence with respect to
the Commission’s factual findings on invalidity and domestic industry. Second, there is no
immediate irreparable harm to Apple that would require an interim stay or a shortened response
period for Apple’s motions. The Commission’s remedial orders do not affect all Apple Watch
products, but only those that include a light-based pulse oximetry feature, i.e., a feature for
measuring the oxygen level in the blood. Non-infringing Apple watches have been and will
continue to be allowed entry into the United States even after the Commission orders went into
effect on October 27, 2023, and Apple was allowed to import the infringing products without
posting any bond during the two-month period of Presidential review (which just expired on
December 25, 2023). Moreover, Apple has an extensive suite of product offerings beyond just
Apple Watches. Nor is it relevant to the interim stay that Apple has currently pending before
Customs a non-infringement claim as to redesigned products. That forthcoming Customs
decision on the redesigns has no bearing on the status of the infringing Apple Watch products,
and in fact, a favorable decision by Customs would further undermine any assertion of
irreparable harm.

         Apple relies on Allergan, among other cases, to support its request for an interim stay, but
the facts here differ considerably from that case. The Allergan case implicated the movant’s
(Evolus) entire business in the United States. See ECF 6-1, Stay Mot. at 20-21, Allergan Ltd. v.
ITC, Appeal No. 21-1653 (Fed. Cir. Feb. 13, 2021). Thus, in contrast to the present case, absent
a stay and an interim stay, the entire existence of the movant’s business was threatened in
Allergan. See id. at 20 n.7; see also Standard Havens Prods., Inc. v. Gencor Indus., Inc., 897
F.2d 511, 515 (Fed. Cir. 1990) (granting a stay where the asserted irreparable harm included
“employee layoffs, immediate insolvency, and, possibly, extinction”). The Court also imposed a
bond for the duration of the interim stay in Allergan, thereby minimizing any prejudice to other
parties from the stay of the Commission’s remedial orders. See ECF 24, Order at 3, Allergan
Ltd. v. ITC, Appeal No. 21-1653 (Fed. Cir. Feb. 16, 2021); see also Standard Havens, 897 F.2d
at 516 (ordering appellant to establish an escrow account and to contribute a set amount for each
unit sold during the appeal). Apple makes no such attempt to minimize prejudice here. For at
least these reasons, Apple’s motion for an interim stay should be denied.

                                      Sincerely,

                                      /s/ Houda Morad
                                      Houda Morad
                                      Attorney for Appellee
                                      International Trade Commission

cc:     Counsel of record (via ECF)
